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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                               Case No: 3 :22-mj-l 074 (SDV)

                  V.

CHRISTOPHER BATES JR.                                  June 8, 2023



                  JOINT MOTION TO CONTINUE PRELIMINARY HEARING

       The parties in the above-captioned matter respectfully move to continue the preliminary

hearing September 13, 2023. Counsel for Mr. Bates indicates that Mr. Bates has been advised of

his rights to a speedy indictment and trial and has executed a speedy trial waiver, which is attached

to this motion.

       The basis for this motion is that the parties are engaged in discussions that may obviate the

need for a preliminary hearing and trial, and the defense is exploring certain issues that may be

relevant to a potential resolution. The defense is having the defendant undergo an evaluation,

which is estimated to be completed within 60 days. After the evaluation is complete, the parties

will need some additional time to see if a resolution can be reached.

       Accordingly, the parties request an extension of the time within which a preliminary

hearing should be held and within which an indictment or information must be filed.

       WHEREFORE, the parties respectfully request that the preliminary hearing be continued

to September 13, 2023, that the Court find the requested continuance is in the defendant's best

interest and outweighs the public interest in a speedy trial, and that the Court exclude the period

from June 13, 2023 until September 13, 2023 from the Speedy Trial Act calculations.
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                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on June 8, 2023, a copy of the foregoing Motion was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court's electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court's CM/ECF System.


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